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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                           :
 EXPEDITORS INTERNATIONAL OF                               :
 WASHINGTON, INC.,                                         :
                                         Plaintiff,        :
                                                           :           21-CV-8405 (VSB)
                            -against-                      :
                                                           :      ORDER AND NOTICE OF
 OCEAN NETWORK EXPRESS PTE., LTD., :                              INITIAL CONFERENCE
                                                           :
                                          Defendant. :
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VERNON S. BRODERICK, United States District Judge:

        This case has been assigned to me for all purposes. It is hereby:

        ORDERED that, in light of the public health crisis, the Court will not be holding an

initial pretrial conference.

        IT IS FURTHER ORDERED that, by December 1, 2021, the parties submit a joint letter,

not to exceed three (3) pages, providing the following information in separate paragraphs:

        1.       A brief description of the nature of the action and the principal defenses
                 thereto;

        2.       A brief explanation of why jurisdiction and venue lie in this Court. If any
                 party is a corporation, the letter shall state both the place of incorporation
                 and the principal place of business. If any party is a partnership, limited
                 partnership, limited liability company or trust, the letter shall state the
                 citizenship of each of the entity’s members, shareholders, partners and/or
                 trustees;

        3.       A brief description of all contemplated and/or outstanding motions;

        4.       A brief description of any discovery that has already taken place, and/or
                 that which will be necessary for the parties to engage in meaningful
                 settlement negotiations;

        5.       A brief description of prior settlement discussions (without disclosing the
                 parties’ offers or settlement positions) and the prospect of settlement;
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       6.       The estimated length of trial; and

       7.       Any other information that the parties believe may assist the Court in
                advancing the case to settlement or trial, including, but not limited to, a
                description of any dispositive issue or novel issue raised by the case.

       IT IS FURTHER ORDERED that the parties also jointly submit to the Court a proposed

case management plan and scheduling order. A template for the order is available at

http://nysd.uscourts.gov/judge/Broderick. The status letter and the proposed case management

plan should be filed electronically on ECF, consistent with Section 13.1 of the Court’s Electronic

Case Filing (ECF) Rules & Instructions, available at https://nysd.uscourts.gov/rules/ecf-related-

instructions.

SO ORDERED.

 Dated:     November 16, 2021
            New York, New York

                                                      ______________________
                                                      Vernon S. Broderick
                                                      United States District Judge




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